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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,      Case No. 1:20-cv-03010-APM

v.                                      HON. AMIT P. MEHTA

GOOGLE LLC,

                       Defendant.


STATE OF COLORADO, et al.,

                       Plaintiffs,      Case No. 1:20-cv-03715-APM

v.                                      HON. AMIT P. MEHTA

GOOGLE LLC,

                       Defendant.




                  PLAINTIFFS’ REMEDIES PRE-TRIAL BRIEF
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                                         INTRODUCTION

        For more than a decade, Google unlawfully froze the general search and general search

text advertising ecosystem through anticompetitive exclusive distribution agreements that

maintained two monopolies. Google paid carriers, device manufacturers, and independent

browsers billions to default their search access points to Google Search, to preinstall and

prominently display Google’s search access points, and to exclude competitors. Competition in

both markets suffered substantially. Google foreclosed the competitive process, deprived rivals

of the scale and revenue needed to compete, discouraged rival innovation and entry, and charged

text advertisers supracompetitive rates for lower quality products. The breadth, duration, and

severity of these harms demand a robust remedy.

        The Court is now “charged with inescapable responsibility” to remedy the violation.

United States v. United Shoe Mach. Corp., 391 U.S. 244, 250 (1968). The remedy “must” aim to

serve four distinct (though overlapping) objectives: “‘[1] unfetter [the relevant] market[s] from

anticompetitive conduct,’ . . . ‘[2] terminate the illegal monopoly, [3] deny to the defendant the

fruits of its statutory violation, and [4] ensure that there remain no practices likely to result in

monopolization in the future.’” United States v. Microsoft Corp., 253 F.3d 34, 103 (D.C. Cir.

2001) (quoting Ford Motor Co. v. United States, 405 U.S. 562, 577 (1972), and United Shoe, 391

U.S. at 250) (citation omitted)).

        Plaintiffs’ proposed remedies satisfy Microsoft’s objectives. The proposed remedies—

developed after receiving input from market participants as well as fact and expert discovery—

prohibit the anticompetitive distribution agreements and payments. They prohibit similar conduct

and likely means of future monopolization (e.g., self-preferencing, retaliation). And they aim to

reduce barriers to entry, thereby curbing Google’s monopoly power and denying Google the




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fruits of its statutory violations. Remedies accomplishing these objectives include, among other

things, provisions that open important distribution channels and establish critical data sharing

and syndication services.

       Google’s proposed final judgment, by contrast, falls woefully short of meeting the

objectives that the D.C. Circuit identified in Microsoft. Google would permit unlawful payments

to continue, permit new agreements similar to those that have harmed competition, ensure

Google retains the fruits of its violations, and leave open practices likely to result in future

monopolization. Underlying Google’s anemic proposal is the erroneous theory already rejected

by this Court that Google dispensed billions in cash to distributors each year—including to one

of its largest potential rivals, Apple—without negatively affecting competition. The evidence has

already shown and will continue to show that this theory is meritless.

I.     Remedies Should Pry Open The Markets That Google Unlawfully Monopolized

       Plaintiffs have the “duty” to institute proceedings in equity to “prevent and restrain”

Sherman Act violations, including monopolization. 15 U.S.C. § 4. Now that this Court has found

that Google’s actions “‘clearly have a significant effect in preserving [Google’s] monopoly,’”

Mem. Op. at 216 (quoting Microsoft, 253 F.3d at 71), this Court has a duty to “enter that relief it

calculates will best remedy the conduct it has found to be unlawful.” Microsoft, 253 F.3d at 105;

see United Shoe, 391 U.S. at 250; United States v. U.S. Gypsum Co., 340 U.S. 76, 88 (1950) (the

court has the “duty” to impose a remedy to “cure the ill effects of the illegal conduct, and assure

the public freedom from its continuance”). The Court has “broad discretion” to craft an

appropriate remedy, Microsoft, 253 F.3d at 105, and now that “‘the Government has successfully

borne the considerable burden of establishing a violation of law, all doubts as to the remedy are

to be resolved in its favor.’” Ford Motor, 405 U.S. at 575 (quoting United States v. E.I. du Pont

de Nemours & Co., 366 U.S. 316, 334 (1961)).


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        A decree that merely “end[s] specific illegal practices,” Int’l Salt Co. v. United States,

332 U.S. 392, 401 (1947), without “eliminating the consequences of the illegal conduct,” Nat’l

Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 698 (1978) (emphasis added), will leave

Plaintiffs with having “won a lawsuit and lost a cause,” Int’l Salt, 322 U.S. at 401. Thus, the

Court must order a “comprehensive” and “unitary framework” of remedies with “provisions

intended to complement and reinforce each other.” New York v. Microsoft Corp., 531 F. Supp. 2d

141, 170 (D.D.C. 2008).

        The proper remedy can and should “go[] beyond a simple proscription against the precise

conduct previously pursued.” Prof’l Eng’rs, 435 U.S. at 698. Indeed, the Court may order

“forward-looking provisions” that require or prevent conduct that “played no role in [the]

holding [that the defendant] violated the antitrust laws.” Massachusetts v. Microsoft Corp., 373

F.3d 1199, 1215 (D.C. Cir. 2004).

II.     The Evidence Will Demonstrate That Plaintiffs’ Remedies Are Necessary To Satisfy
        Microsoft’s Four Objectives

        Plaintiffs’ comprehensive remedies proposal consists of six categories of mutually

reinforcing remedies. See generally ECF Nos. 1184 and 1184-1. First, Plaintiffs propose

contractual remedies prohibiting Google from locking up the most efficient forms of distribution

on third-party devices and applications. Second, to open additional distribution means and to

deprive Google of unlawful gains, the proposed remedies require Google to divest Chrome and

reserve the right for the Court to require further structural relief, including the divestiture of

Android, at a later date if certain conditions are triggered. Third, the remedies require Google to

share certain search and ads data, and syndicate some search and ads products on terms that will

erode Google’s unlawfully gained scale advantage and lower barriers to entry. Fourth, the

remedies aim to restore advertisers’ transparency into and control over their ad spend to lower



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their switching costs. Fifth, the Colorado Plaintiffs propose that the Court require Google to fund

a nationwide advertising and education program designed to inform user choices. Finally,

Plaintiffs propose a Compliance Monitor and Technical Committee (as was done in Microsoft) to

ensure the proper administration of the Court’s final judgment, as well as other remedies aimed

at safeguarding against circumvention and retaliation.

       These remedies will work together to stop Google’s unlawful conduct, deny Google the

fruits of its past conduct, prevent recurrence, and restore competition. See Microsoft, 253 F.3d

at 103. Merely enjoining Google’s unlawful conduct without affirmatively restoring the

competitive ecosystem and “opening the channels of distribution for rival[s],” Massachusetts,

373 F.3d at 1233, would perpetuate Google’s unlawfully maintained monopoly. Plaintiffs’ trial

presentation in support of each remedy is previewed below.

       A.      Distribution Remedies

       The natural starting point in this case is a remedy to end the anticompetitive contracts

found by the Court to be exclusionary. Ford Motor, 405 U.S. at 577–78; see also In re NCAA

Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239, 1264 (9th Cir. 2020), aff’d sub nom.

NCAA v. Alston, 594 U.S. 69 (2021). The Court further has “‘broad power to restrain acts which

are of the same type or class as unlawful acts which the court has found to have been

committed.’” Zenith Radio Corp. v. Hazeltine Rsch., Inc., 395 U.S. 100, 132 (1969) (quoting

N.L.R.B. v. Express Publishing Co., 312 U.S. 426, 435 (1941)). Plaintiffs’ proposed distribution

remedies will help unfetter the market from Google’s violations, reduce barriers to entry, and

prevent future monopolization. Microsoft, 253 F.3d at 103.

       As this Court explained, “Google has thwarted true competition by foreclosing its rivals

from the most effective channels of search distribution.” Mem. Op. at 202. The evidence will

confirm that the distribution harms found by the Court remain insurmountable and that a


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preinstalled on all U.S.          devices. And Google’s Neal Pancholi explains in designated

deposition testimony that in response to generative AI companies’ attempts to distribute through

typical search access points, Google formulated its own Gemini distribution strategy. Pancholi

(Google) Dep. 96:17–98:19, 110:02–113:11 (discussing PXR0150); accord PXR0150, at -407,

-415–16.

       Plaintiffs’ remedies also address the unique danger of Google’s Mobile Application

Distribution Agreement (MADA). Under the MADA, Google conditioned its “must have” Play

Store on the exclusive distribution of the Google Search App, the Google Search Widget, and

Chrome. Mem. Op. at 210–212. Plaintiffs’ proposed remedies prohibit Google from using these

same tactics going forward, including with new “must have” offerings and in response to cutting-

edge technologies.                  for example, will explain the need for these provisions to

ensure Google cannot use the Play Store to preempt distribution for third-party generative AI

products on Android. See also PXR0160 (showing Google’s efforts to increase revenue by

bundling its own on-device generative AI model, Gemini Nano, with the Gemini App on

Android devices, and requiring the Nano model’s preinstallation).

       Plaintiffs anticipate Google will mischaracterize Plaintiffs’ distribution remedies as an

effort to “prop up” rivals at the expense of distributors, who will receive far less compensation

from Google, and consumers, who will be required to use new or different search engines. That

argument is wrong on all accounts: Plaintiffs’ remedies will ignite competition among rivals,

which will benefit distributors and users. Plaintiffs’ economics expert, Dr. Tasneem Chipty, will

explain, in accord with precedent, that “any number of competitors may flourish (or not) based

upon the merits of their offerings” under Plaintiffs’ remedies. Massachusetts, 373 F.3d at 1231.

To be sure, if Plaintiffs’ remedies succeed, “a competitor identifiable ex ante may benefit but not




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because it was singled out for favorable treatment.” Id. at 1232. Further, with robust competition,

distributors and consumers will benefit, even while the remedies prohibit Google from bidding

for defaults and preinstallation. The evidence will show that Plaintiffs’ distribution remedies—

when analyzed together with the parallel data and syndication remedies (discussed further

below)—will substantially improve rivals, the competitive process, and thus the welfare of

distributors and consumers, all in short order. Google’s criticism, by contrast, relies on a siloed

analysis of Plaintiffs’ distribution remedies.

       Fact witnesses will corroborate this analysis. In designated testimony,

from            explains the need for at least two viable general-search competitors to enable

          to negotiate for more revenue.

                                                              Plaintiffs anticipate

           will offer similar testimony, explaining that          currently has few options, but if

general search competition improved,             would have the ability to secure revenue shares

more reflective of the value the company provides.

       Plaintiffs’ behavioral economist, Prof. Antonio Rangel, will testify that one possible

solution—choice screens—can help reduce biases in consumer choice in search, at least when

evaluated by experts in behavioral science prior to deployment. Nonetheless, he and Dr. Chipty

will explain that even well-designed choice screens by themselves are unlikely to be sufficient to

undo the significant biases and brand recognition generated by Google’s previous defaults.

       Further, Dr. Chipty will explain how Plaintiffs’ proposed remedies ensure Google retains

many legitimate means of competing in general search services and related markets. Under

Plaintiffs’ proposed remedies, Google may, among other things, (1) pay users directly for general

search activity, (2) distribute Google Search through the Google Search App, (3) advertise its




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products, including the Google Search App, in app stores and elsewhere, and (4) invest in

product quality to encourage users to seek out Google affirmatively and distributors to distribute

Google without compensation.

       B.      Structural Remedies

       “[D]ivestiture is a common form of relief in successful antitrust prosecutions: it is indeed

‘the most important of antitrust remedies.’” United States v. Microsoft Corp., 253 F.3d 34, 105

(D.C. Cir. 2001) (quoting United States v. E.I. du Pont de Nemours & Co., 366 U.S. 316, 331

(1961)). A Chrome divestiture is amply warranted here as a means of reducing a “major barrier

to entry,” Mem. Op. at 159; denying Google the fruits of its statutory violation (e.g., a substantial

Android Chrome user base obtained by MADAs and RSAs); and ensuring that there remain no

practices likely to result in monopolization in the future.

       The Court’s liability findings already support a Chrome divestiture. Google’s ownership

of Chrome, in combination with the browser’s popularity, has “only fortified [Google’s]

dominance.” Mem. Op. ¶ 83. It “significantly narrows the available channels of distribution and

thus disincentivizes the emergence of new competition.” Mem. Op. at 159; cf. Int’l Boxing Club

of N. Y., Inc. v. United States, 358 U.S. 242, 256–57 (1959) (upholding a divestiture in a

monopolization case where the divested assets, though lawfully acquired, could be utilized to

effectuate anticompetitive conduct). Plaintiffs intend to offer even more evidence during the

remedies trial in support of its Chrome divestiture remedy.2

       Plaintiffs will demonstrate that Chrome is valuable to Google Search and generates

significant indirect revenue. Parisa Tabriz, Google’s VP of Engineering and General Manager for




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 The circumstances concerning the effect that Android can have on competition are also set
forth in the Court’s liability opinion. See, e.g., Mem. Op. at 210–12.

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Chrome, will confirm at trial that in 2023, Chrome generated $      billion in indirect revenue,

most of which is attributable to Search. PXR0215 at -257; PXR0162 at -901. Based on

deposition testimony, Plaintiffs anticipate that Ms. Tabriz will confirm the importance that

Google places on its browser. Internal Google documents will show that Chrome is the most

widely used browser, with 4.1 billion monthly active users. PXR0216 at -707. Plaintiffs’

divestiture expert, David Locala, will add to the evidence supporting Chrome divestiture. He will

(1) testify that Chrome is an attractive asset to a divestiture buyer given Chrome’s leading

market position and immense usership, (2) identify potential revenue opportunities, and

(3) explain why Chrome divestiture can be accomplished through established corporate practices.

Opening this critical search distribution point will reinforce efforts to pry open the markets and

restore competition. See Ford Motor, 405 U.S. at 577–78.

       The evidence will also show—from a technical perspective—that divesting Chrome is

achievable. Prof. James Mickens will explain that Chrome and other mainstream browsers are

not deeply integrated and can be separated. Chrome is a standalone piece of software that can

operate as a browser without connecting to any cloud services. As a result, the divestiture buyer

could decide, for each Google cloud service that Chrome currently uses, whether Chrome would

(1) continue to use that service via API keys or proxies, (2) replace that service with an

equivalent third-party service, or (3) disable the service entirely. To that end, any assertions by

Google’s expert Prof. Jason Nieh that Chrome relies on numerous bespoke Google dependencies

are misplaced. The Court should also reject Prof. Nieh’s assertion that a Chrome divestiture will

take at least five years due to the need to remove Chrome’s dependencies on Google’s data

center-side services. The number of dependencies alone do not demonstrate that those




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connection points are technically daunting to identify, remove, or modify.3 In short, this is not a

case where structural relief poses “logistical difficulty” of splitting a “unitary compan[y]” in two.

Microsoft, 253 F.3d at 106.

       Finally, the Court should reject any eleventh-hour argument from Google that a

divestiture (or any other remedy) will raise national security concerns. National security

concerns are the purview of the Executive Branch of the United States, not of a self-interested,

publicly traded, private entity, such as Google. Ctr. for Nat. Sec. Stud. v. U.S. Dep’t of Just., 331

F.3d 918, 926–27 (D.C. Cir. 2003) (“It is . . . well-established that the judiciary owes some

measure of deference to the executive in cases implicating national security, a uniquely executive

purview.”). At most, such public policy concerns can come into play only when a court is

“choosing between [multiple] effective remedies”; they are not a reason for rejecting a remedy

that is necessary to restore competition, as divestiture is here. United States v. Am. Tel. & Tel.

Co., 552 F. Supp. 131, 150–51 (D.D.C. 1982); see United States v. E.I. du Pont de Nemours &

Co., 366 U.S. 316, 327–28 (1961). Google’s argument is no basis for opposing remedies that

would restore competition. Indeed, just as the innovation that followed the breakup of AT&T

demonstrated, competition will best secure the United States’ national security.

       C.      Data Sharing and Syndication Remedies

       Plaintiffs will also show that data sharing and syndication remedies are necessary. When

executed well, remedies such as data sharing and syndication (more generally referred to as

“pooling” and “interoperability”) “can greatly increase the number of competing participants” in

a relevant market by acting as a “substitute for scale economies.” Phillip E. Areeda et al.,




3
 Google’s five-year estimate for a potential Android divesture relies on the same unreliably
applied and fundamentally flawed methodology.

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Antitrust Law: An Analysis of Antitrust Principles and Their Application ¶ 653i2 (5th ed. 2022).

As this Court found, “Google’s exclusive agreements . . . deny rivals access to user queries, or

scale, needed to effectively compete” and, by doing so, “have substantially contributed to . . .

anticompetitive market conditions.” Mem. Op. at 226, 234. Plaintiffs’ proposed data-sharing and

syndication remedies are the best means of reducing this barrier to competition. Massachusetts,

373 F.3d at 1218 (upholding an API disclosure remedy as a means of “facilitating the entry of

competitors”). And given Google’s current scale advantage over any rival, which it enhanced

through unlawful exclusionary conduct, these remedies are necessary to deny it the “fruits of its

statutory violation.” Massachusetts, 373 F.3d at 1232.

       Scale is a “critical input” used “[a]t every stage of the search process” to “directly

improve[] quality.” Mem. Op. ¶ 90. From the outset, scale is used to understand both what to

crawl and how to store that information in an index. Mem. Op. ¶¶ 91–92. Plaintiffs’ proposed

remedies address this scale harm by requiring Google to provide search index information

(including information from Google’s Knowledge Graph) without requiring Google to share a

copy of or access to the Google index itself. Witnesses from           ,           , and

               will explain how this information is a necessary guide for crawling and indexing

effectively.

       Another key component of a general search service is its ranking algorithm. Mem. Op.

¶¶ 93–106. User-side data at scale, including clicks, queries, and more, train and refine many of

the signals that ranking algorithms use to identify high quality search results. Mem. Op. ¶¶ 87–

89, 94, 98. Accordingly, Plaintiffs’ proposed remedies require Google to share this user-side data

with Qualified Competitors. Witnesses from             and                 will explain to the Court

the importance of this remedy and how rivals can use this information to compete with Google.




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          Plaintiffs have proposed similar data-sharing remedies for the ads side of Google Search.

As this Court recognized, scale “improves search ads monetization”—and thus the ability to

compete—by enabling ads algorithms to select higher quality, more relevant ads, improving

predicted and actual click-through rates and thus improving per-query and per-impression

revenue. Mem. Op. at 230. Google’s own witnesses and documents will corroborate these

findings. E.g., PXR0246 at -156, -164. Plaintiffs’ proposed remedies will address these harms by

requiring Google to share data inputs used to train Google’s auction and prediction models.

          Even the best data-sharing remedies will not improve competition overnight. Witnesses

from            and                will explain how using data to develop a high-quality service

takes time—meaning that rivals need syndication services to enter the markets and meaningfully

compete in the short run. See



                                                                          Plaintiffs’ remedies

require these services on both the organic and ad sides, with variations designed to reflect

inherent differences in those services. The evidence will show how, when implemented properly,

organic and ad syndication can encourage competition and innovation. Evidence will show Japan

as an example of a geography where a Google syndication product not offered in the United

States has supported competition and innovation in both the advertising and search markets. See,

e.g.,            at -   ,-     (describing a              syndication agreement with Google).

          The evidence and testimony will also undermine Google’s purported concern that the

data and syndication remedies will discourage innovation by giving too much to rivals. First, the

Court will hear how, even accepting Google’s view of the facts, rivals will nonetheless have

incentives to invest to differentiate themselves from each other and Google, and how Google will




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retain the incentive to invest to avoid falling behind. Antitrust Law ¶ 653i2 (endorsing data-

sharing remedies and explaining how, with those remedies, “[s]earch engines could continue to

compete in search algorithms or other features”). Second, the Court will hear how the reverse

engineering that underpins most of Google’s concern is overstated and impractical. Third, the

Court will hear how Plaintiffs’ proposed remedies contain provisions safeguarding against these

incentive concerns by requiring that any rival seeking data or syndication services demonstrate a

“plan to invest and compete” in a relevant market; requiring rivals to achieve independence by

tapering down the organic syndication services they use; and allowing Google to set any non-

discriminatory price it wants for ad syndication services.

       D.      Advertising Remedies

       Plaintiffs’ proposed remedies include additional ad-specific transparency and control

remedies designed to unfetter the ad market from Google’s conduct, reduce barriers for

competition, and deny Google the fruits of its violations. In particular, these remedies will

require Google to include important information in search query reports, ensure Google permits

advertisers to export information for use in non-Google optimization systems, provide

advertisers with additional control over the Google auctions they enter through keyword

selections, and require disclosure of material auction launches relevant to advertisers’

optimization strategies. Documents and testimony from both Google and third parties will show

that these remedies will not only remediate the specific harms the Court identified, see Mem. Op.

at 263–264 (SQRs, keyword matching, auction transparency), but also reduce advertiser

switching costs and increase competition in the advertising market.

       E.      The Colorado Plaintiffs’ Public Education Fund Remedy

       The Court found inertia, habit, and brand recognition insulate Google from competition.

Mem. Op. at 26, 157. Colorado Plaintiffs propose a public education remedy to address these


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barriers. Professor Michael Luca will explain how (i) a well-designed campaign would inform

users about changes in the marketplace resulting from this case and how to best choose the

general search engine best for them and (ii) short-term incentive payments can encourage users

to test and experience other search engines, further advancing informed choice.

         F.     Administration, Anti-circumvention, And Anti-Retaliation Remedies

         Finally, Plaintiffs will offer evidence that corroborates the need for a Technical

Committee to help administer the remedies. For example, Prof. Evans will explain the

importance of the Technical Committee to ensure that Google’s data is shared with adequate

privacy safeguards. Plaintiffs will also offer evidence demonstrating the need for anti-

circumvention and anti-retaliation remedies to prevent Google from undermining the remedies

by taking new routes of “monopolization in the future.” See Microsoft, 253 F.3d at 103.

III.     Plaintiffs’ Remedies Are Supported By Causation

         Recycling a failed tactic from the liability trial, Google likely will once again insist that

Plaintiffs satisfy a but-for test—this time permitting nothing more than trivial remedies unless

Plaintiffs show but-for causation by identifying a precise but-for world that differs substantially

from today. And even then, Google would require that any remedies achieve no more than the

but-for world. The law contains no such requirement. Microsoft, 253 F.3d at 79 (“[N]either

plaintiffs nor the court can confidently reconstruct . . . a world absent the defendant’s

exclusionary conduct.”).

         Google’s argument has two major flaws. First, Google wrongly demands this but-for

causation standard for virtually all remedies, excepting only narrow prohibitions on conduct

found unlawful. The D.C. Circuit, by contrast, has “singled out” only structural remedies (and

their analogues) for this modified standard. Massachusetts, 373 F.3d at 1234; see also id. at




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1207–34 (discussing many forms of relief, with reference to causation only while analyzing a

remedy akin to structural relief).

       Second, even for structural remedies, the causation standard is lower than the but-for

standard Google demands. But-for requirements have been repeatedly rejected in antitrust

matters because they are nearly impossible to satisfy. Standard Oil Co. of Cal. v. United States,

337 U.S. 293, 309–10 (1949) (explaining that a but-for standard is, “if not virtually impossible to

meet, at least most ill-suited for ascertainment by courts”). Rather, the heightened causation

standard for structural remedies requires—relative to the liability causation standard—only a

“‘clearer indication of a significant causal connection’” between the anticompetitive conduct and

the maintenance of monopoly. Microsoft, 253 F.3d at 106 (emphasis omitted). That is not but-for

causation. And indeed, this Court’s liability findings already satisfy this heightened standard.4

                                         CONCLUSION

       Comprehensive remedies are necessary to restore the competition lost by Google’s

unlawful durable monopolies in general search services and general search text ads. Plaintiffs

look forward to engaging with the Court on their proposed remedies at trial.




4
  E.g., Mem. Op., United States et al. v. Google LLC, 20-cv-3010 (APM), ECF No. 1032 (“Mem.
Op.”), at 202 (“The exclusive distribution agreements thus have significantly contributed to
Google’s ability to maintain its highly durable monopoly.”), 216 (“[Google’s] agreements
‘clearly have a significant effect in preserving [Google’s] monopoly.’”), 234 (“The exclusive
distribution agreements have substantially contributed to . . . anticompetitive market
conditions.”), 237 (“[Google’s agreements have] contributed significantly to [a] lack of new
investment.”), 265 (“Google’s exclusive distribution agreements substantially contribute to
maintaining its monopoly in the general search text advertising market.”); see also United States
v. Google LLC, 2025 WL 880552, at *3 (D.C. Cir. Mar. 21, 2025) (“[T]he district court found it
‘unquestionabl[e]’ that revenue-sharing payments from Google to Apple ‘significantly
contribut[e] to keeping Apple on the sidelines of search, thus allowing Google to maintain its
monopoly.’” (quoting Mem. Op. at 242)).

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